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                                                                                   United States District Court
                                                                                     Southern District of Texas

                                                                                        ENTERED
                            UNITED STATES DISTRICT COURT                             February 13, 2023
                             SOUTHERN DISTRICT OF TEXAS                              Nathan Ochsner, Clerk
                                 HOUSTON DIVISION


KONNECH INC.,                                   §
                                                §
        Plaintiff,                              §
                                                §
VS.                                             §   CIVIL ACTION NO. 4:22-CV-03096
                                                §
TRUE THE VOTE INC., et al.,                     §
                                                §
        Defendants.                             §

                                   ORDER OF RECUSAL

       Came on for consideration the defendants’ motion to recuse (Dkt. No. 74). After having

considered the parties’ briefing and argument of counsel, if any, the Court finds that the motion

should be GRANTED.

       It is so ORDERED.

       SIGNED on February 13, 2023, at Houston, Texas.


                                                     _________________________________
                                                     Kenneth M. Hoyt
                                                     United States District Judge




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